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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §   CRIMINAL NO. H-09-029-05
                                                  §
                                                  §
GERARDO VILLEGAS,                                 §

                                              ORDER

       Defendant Gerardo Villegas has asked this court to reconsider the order detaining them

pending trial. When the district court acts on a motion to revoke or amend a magistrate

judge's pretrial detention order, the district court acts de novo and must make an independent

determination of the proper pretrial detention or conditions for release. United States v.

Rueben, 974 F.2d 580, 585 (5th Cir. 1992).

       In evaluating whether there are conditions of release that will reasonably assure the

appearance of the defendant at trial and the safety of others and the community, this court must

consider the factors laid out by 18 U.S.C. § 3142(g). They are: (1) the nature and circumstances of

the offense charged, including whether the offense is a crime of violence or involves a narcotic drug;

(2) the weight of the evidence against the person; (3) the history and characteristics of the person,

including (A) his character, physical and mental condition, family ties, employment, financial

resources, length of residence in the community, community ties, past conduct, history relating to

drug or alcohol abuse, criminal history, record concerning appearance at court proceedings, and (B)

whether at the time of the current offense or arrest the defendant was on probation or parole; and (4)
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the nature and seriousness of the danger to any person or the community that would be posed by the

person's release.

       The defendant is charged with a drug trafficking offense. A presumption of detention

applies. There is both physical and other evidence against the defendant. The defendant has a

history of drug abuse and an extensive criminal history. The evidence presented as to his conduct

while on bond shows that the defendant poses a danger to the community. That evidence includes

threatening his former spouse in telephone communications, resulting in her making a report to her

local police department. The evidence includes firearms, marijuana, and cocaine in the home when

he was arrested while on bond.

       This court finds that no combination of conditions can be imposed that will reasonably assure

the safety of the community or the defendant’s appearance at trial. The defendant’s motion for

reconsideration of the order of detention pending trial is denied.

               SIGNED on December 16, 2009, at Houston, Texas.


                                               ______________________________________
                                                          Lee H. Rosenthal
                                                     United States District Judge




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